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2                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
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           Ms. L, et al.,                            Case No. 3:18-cv-428-DMS
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8                              Plaintiffs,           Honorable Dana M. Sabraw
                 vs.
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10         U.S. Immigration and Customs
           Enforcement, et al.,
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12                             Defendants.
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14         M.M.M., on behalf of his minor child,     Case No. 3:18-cv-1832-DMS
           J.M.A., et al.,
15                                                   Honorable Dana M. Sabraw
16                             Plaintiffs,
                 vs.                                 ORDER ON FURTHER
17                                                   CLARIFICATIONS TO
18                                                   SETTLEMENT AGREEMENT
           Matthew G. Whitaker, Acting               OF NOVEMBER 15, 2018
19         Attorney General of the United States,1
20         et al.,
                                                     February 6, 2019
21                             Defendants.
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        Pursuant to Federal Rule of Civil Procedure 25(d), the Court has substituted the
26     current Acting Attorney General as the Defendant in this case.
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1            The Court having considered objections filed by legal service providers for
2      children who sought clarifications to the settlement agreement at the fairness hearing
3      on November 15, 2018; and the Court having invited the parties and the objectors to
4      meet and confer about such clarifications; and the parties and the objectors having
5      met, conferred, and reached a common understanding of certain provisions of the
6      settlement, the Court hereby approves the following further clarifications to the
7      settlement agreement approved on November 15, 2018:
8            Paragraph 1.a.
9            The first sentence of Paragraph 1(a) of the settlement agreement states: “Ms.
10     L class members and M.M.M. agreed class members who are not currently detained
11     in DHS custody (and are not currently in HHS custody) and who have been issued
12     Notices to Appear (NTAs) will not be removed by DHS prior to issuance of a final
13     removal order in their resulting removal proceedings conducted under Section 240
14     of the Immigration and Nationality Act (INA).” This provision applies to the

15     following hypothetical situations as clarified below:

16           Hypothetical #1: A parent and child are reunited in the community. The child

17     was issued an NTA while in shelter. The parent was not issued an NTA because the

18     parent was released for reunification before having a credible fear interview. Does

19     the child remain in Section 240 proceedings?

20           Clarification #1: Yes.
             Hypothetical #2: A parent and child are reunited in the community. The child
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       was issued an NTA while in shelter. The parent was not issued an NTA because the
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       parent received a negative credible fear determination and the parent has not yet had
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       his or her negative determination reviewed pursuant to the settlement agreement.
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       Does the child remain in Section 240 proceedings?
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1            Clarification #2: No. The parent would have the negative credible fear
2      determination reviewed pursuant to Paragraph 1(d) of the settlement agreement. The
3      child would be reprocessed for expedited removal so that the child can be
4      interviewed with the parent and treated as the parent’s dependent. If credible fear is
5      found for either the parent or the child, both would be placed in Section 240
6      proceedings.
7            Hypothetical #3: A parent and child are reunited in the community. The child
8      was issued an NTA while in shelter. The parent was not issued an NTA because the
9      parent received a negative credible fear determination, but the parent’s negative
10     credible fear determination is pending review by an immigration judge. Does the
11     child remain in Section 240 proceedings?
12           Clarification #3:      If the parent’s negative credible fear determination is
13     pending review by an immigration judge then the parent does not yet have a final
14     expedited removal order and Paragraph 1(d) of the settlement does not apply. The

15     child would remain in Section 240 proceedings while the parent’s negative credible

16     fear determination is pending review by an immigration judge. If the parent’s

17     negative credible fear determination is affirmed by the immigration judge following

18     reunification, the child would remain in Section 240 proceedings unless the parent

19     seeks further review pursuant to Paragraph 1(d) of the settlement. If the parent does

20     seek further review under the settlement, then Paragraph 1(d) would apply as
       described in hypothetical #2 above, including that the child would be reprocessed
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       for expedited removal so that the child can be interviewed with the parent and treated
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       as the parent’s dependent.
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             Hypothetical #4: A parent and child are reunited in the community. The child
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       was issued an NTA while in shelter. The parent was issued an NTA after receiving
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       a positive credible fear determination in the initial determination from USCIS or on
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1      review by an immigration judge.        Would both parent and child stay in 240
2      proceedings?
3            Clarification #4: Yes.
4            Paragraph 1.a., continued
5            The last sentence of Paragraph 1.a. of the settlement agreement states:
6      “M.M.M. agreed class members who have not been reunified with their parent(s) as
7      of the effective date of this agreement will be afforded existing procedures for
8      unaccompanied alien children pursuant to governing statutes and regulations,
9      including but not limited to Section 240 removal proceedings, unless and until they
10     are reunified with a parent, in which case the procedures described below will
11     apply.”
12           This sentence refers to a child’s reunification with a parent or parents in the
13     Ms. L class. A child’s reunification with a parent outside the Ms. L class does not
14     trigger the application of the settlement. Such a child remains in Section 240

15     proceedings if the child is already in such proceedings.

16           Preamble and Paragraph 8

17           Both the preamble and Paragraph 8 of the settlement agreement include

18     language through which class members waive certain claims. Paragraph 8 states the

19     waiver as follows: “Class members may either pursue the relief described in this

20     agreement or elect prompt removal, but may not pursue any other immigration- or
       asylum-related injunctive, declaratory, or equitable relief based on the allegations or
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       claims made in any of the Ms. L, M.M.M., or Dora complaints filed in any court
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       accruing as of the date this plan is approved by the Court, including statutory
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       claims.”
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1            Neither this provision nor the similar language in the preamble to the
2      settlement limits in any way the defenses that a parent or child class member may
3      assert in Section 240 proceedings.
4            It is so ordered.
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       Dated: February 8, 2019
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